Case 1:24-cv-08429-RA Document18 Filed 03/21/25 Pageiofi1

AFFIRMATION OF SERVICE

State of New York County of Southern Usde Court

Index Number: 1:24-CV-08429-RA
Date Filed:

Plaintiff:
Primitivo Robles, on behalf of himself and all others similarly situated

VS.

Defendant:
BCPSI Enterprises LLC d/b/a Highstone

State of New York, County of Albany)ss.:

Received by Meridian Investigations & Security to be served on BCPS! ENTERPRISES LLC s/h/a BCPSI
ENTERPRISES LLC d/b/a HIGHSTONE

|, Patricia Burke, do hereby affirm that on the 20th day of March, 2025 at 3:15 pm, |:

served the within named Limited Liability Company, BCPSI ENTERPRISES LLC s/h/a BCPSI
ENTERPRISES LLC d/b/a HIGHSTONE by delivering two true copies of the Order to Show Cause for
Default Judgment and Memorandum of Law in Support of Motion for Default Judgment pursuant
to New York State Section 303 LLCL together with statutory service fee in the amount of $40.00 to
Nancy Dougherty as Business Document Specialist of New York State Department of State, 99
Washington Avenue, 6th Floor, Albany, NY 12210. The New York State Department of state being the
Registered Agent/Statutory Agent of record of the within named limited liability company, in compliance
with state statutes

Description of Person Served: Age: 65, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: Y

| certify that | am over the age of 18, have no interest in the above action

| affirm on alu hese , under the penalties of perjury under the laws of New York, which may
include a fine or imprisonment, that the foregoing is true, and | understand that this document may be filed
in an action or proceeding in a court of law.

ZZ.

atficia Burke
rocess Server

Meridian Investigations & Security
48 Davis Avenue
Port Washington, NY 11050

Our Job Serial Number: SRN-2025002075

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